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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 JANICE L. NICHOLS and DUSTIN SARLO,
 individually, as parents, guardians
 and next-of-kin on behalf of their
 daughter, KASSIE A. NICHOLS, a minor,

        Plaintiffs,

 vs.                                                           Case No. 8:03-cv-1998-T-23MSS

 BRIAN F. BUTLER, M.D.,
 RADIOLOGY ASSOCIATES OF
 WEST FLORIDA, M.D., P.A.,
 a Florida corporation and the
 UNITED STATES OF AMERICA,

       Defendants.
 ___________________________________/

                                               ORDER

        THIS MATTER comes before the Court for consideration of Plaintiffs’ and Defendants,

 Brian F. Butler and Radiology Associates of West Florida, M.D., P.A.’s Joint Motion for

 Continuance and Joint Motion for Extension of Discovery Deadline (the “Joint Motion”)(Dkt. 79)

 and the United States of America’s Opposition thereto (Dkt. 88).

        In the Joint Motion, the parties are seeking to continue the trial in this matter from the

 October 2005 trial term to the “second quarter of 2006” and to extend the discovery deadline from

 June 15, 2005, to March 31, 2006. (Dkt. 79 at 9). The United States opposes the Joint Motion

 because 1) motions to continue trial are disfavored after entry of the Case Management and

 Scheduling Order, 2) the Joint Motion does not contain the requisite good cause for continuance of

 trial or establish “excusable neglect” for enlarging the discovery period or for disclosure of expert


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 witnesses, 3) the “vague and conclusory” assertions made by opposing counsel with respect to

 diligence in conducting timely discovery are unsupportable, and 4) the consistent pattern of

 discovery abuses by opposing counsel should be considered in evaluating the Joint Motion. (Dkt.

 88 at 2).

                                               Discussion

         Any evaluation of the Joint Motion and the United States of America’s opposition thereto

 must begin with the acknowledgment that 1) pediatric cancer is a complex and at times mystifying

 disease whose physiological effects do not conform to procedural deadlines and case management

 schedules and 2) the Joint Motion is unusual in that it is made by both Plaintiffs and all of the

 Defendants remaining in the case with the exception of the United States of America.

         The United States cites to Fed.R.Civ.P. 6(b) and states that when a motion for enlargement

 is made prior to the expiration of the period originally prescribed, as it was to continue the trial, the

 court may order the period enlarged for “good cause shown” under 6(b)(1) and when a motion is

 made after the expiration of the specified period, as it was for the discovery and expert disclosure

 periods, the movant must establish “excusable neglect.” Fed. R.Civ.P. 6(b)(2).

         According to Wright & Miller, excusable neglect generally seems to require “a

 demonstration of good faith on the part of the party seeking an enlargement of time and some

 reasonable basis for noncompliance within the specified rules” and a “lack of prejudice to the

 opposing parties.” 48 CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND

 PROCEDURE § 1165 (3d ed. 1998). The parties to the Joint Motion have demonstrated good faith

 throughout the proceedings to date and have offered several reasons why discovery needs to

 continue outside of the dates set in the Case Management and Scheduling Order. While extending


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 the discovery deadlines in this case and allowing for several new depositions to occur will increase

 the workload associated with this case, an increase in work does not equate to prejudice. Finally,

 the fact that the other Defendants in the case have joined in the Joint Motion and are not claiming

 prejudice in this case also militates strongly against any finding of prejudice to the United States.

        This case warrants determination based on its real merits, which can happen only after if the

 discovery process allows for thorough factual development. Adherence to the previous discovery

 deadlines set in this case would preclude an evaluation of this case on the merits and thus, the

 Undersigned finds good cause to extend the discovery deadlines in this case through March 31,

 2006. In order to accommodate the discovery extension, the trial date will be reset by separate order

 of the District Judge.

        Accordingly, the Joint Motion (Dkt. 79) is GRANTED and the Motion for Leave to Take

 Further Discovery filed by Defendants, Dr. Brian Butler and Radiology Associates of West Florida

 (Dkt. 75) is DENIED AS MOOT. The pretrial conference scheduled in this case for September 13,

 2005, is cancelled. An amended Case Management and Scheduling order resetting the pertinent

 deadlines in this case will be issued by separate order.

        DONE and ORDERED in Tampa, Florida on this 12th day of September 2005.




 Copies to:
 Counsel of Record
 Judge Steven D. Merryday



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